         CASE 0:24-cv-01561-SRN-DJF Doc. 25 Filed 08/27/24 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA


 PUBLIC INTEREST LEGAL
 FOUNDATION, INC.,

                        Plaintiff,                      Case No. 24-CV-1561 (SRN/DJF)

                v.                                          UNITED STATES’
                                                        NOTICE OF INTERVENTION
 STEVE SIMON, in his official capacity as              PURSUANT TO 28 U.S.C. § 2403(a)
 the Secretary of State for the State of
 Minnesota,

                        Defendant.


       Pursuant to 28 U.S.C. § 2403(a) and Federal Rule of Civil Procedure 5.1(c), and in

response to Plaintiffs’ Notice of Constitutional Question, ECF No. 18, the United States

hereby respectfully notifies the Court that it exercises its right to intervene in this

proceeding to defend the constitutionality of Section 4(b) of the National Voter

Registration Act of 1993, 52 U.S.C. § 20503(b). Unless otherwise directed by the Court,

the United States expects to submit a brief regarding the constitutionality of Section 4(b)

on or before September 17, 2024.
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Date: August 27, 2024

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/s/ Bahram Samie                       /s/ Brian Remlinger
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                                       *Motion for admission pro hac vice
                                       forthcoming

                                       **Motion for admission pro hac vice
                                       docketed
         CASE 0:24-cv-01561-SRN-DJF Doc. 25 Filed 08/27/24 Page 3 of 3




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA


 PUBLIC INTEREST LEGAL
 FOUNDATION, INC.,

                       Plaintiff,                     Case No. 24-CV-1561 (SRN/DJF)

                v.                                      CERTIFICATE OF SERVICE

 STEVE SIMON, in his official capacity as the
 Secretary of State for the State of Minnesota,

                       Defendant.


       I hereby certify that on August 27, 2024, I electronically filed the foregoing with

the Clerk of the court using the CM/ECF system, which will send notification of this

filing to counsel of record.



                                          /s/ Brian Remlinger
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